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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-21287-CV-ALTMAN
                                   MAGISTRATE JUDGE REID


  ABIGAIL VELEZ,

         Plaintiff,
  v.

  D NAKAMA FACTION CORP, MATHIU
  MUNOZ PEREZ, and SAYLI C.
  SAAVEDRA SOUCHAY,

        Defendants.
  ______________________________________/

                      ORDER SCHEDULING SETTLEMENT CONFERENCE

         This cause has been referred to the undersigned by United States District Judge Roy K.

  Altman for a settlement conference. [ECF No. 36].

         Accordingly, it is hereby ORDERED that the parties shall attend a settlement conference

  with the undersigned on November 2, 2021 at 10:00 am. The settlement conference shall be

  conducted remotely by Zoom. The Zoom information will be sent to the parties by email. The

  parties are reminded that all parties and claims professionals with full authority to negotiate a

  settlement (for example, insurance adjusters) are required to be present. See S.D. Fla. L.R. 16.2(e).

  The parties are also reminded that all discussions during the settlement conference are confidential

  and privileged in all respects. See S.D. Fla. L.R. 16.2(g)(2).

         DONE AND ORDERED this 8th day of October, 2021.



                                                        LISETTE M. REID
                                                        UNITED STATES MAGISTRATE JUDGE
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  cc:   U.S. District Judge Roy K. Altman; and
        All Counsel of Record




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